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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                       IN THE UNITED STATES DISTRICT COURT                       September 24, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk
                              HOUSTON DIVISION

REGINALD RIDEOUT,                             §
                                              §
                                              §
                     Plaintiff,               §
                                              §
VS.                                           §          CIVIL ACTION NO. H-20-2053
                                              §
EXXON MOBIL CORPORATION, et al.,              §
                                              §
                     Defendants.              §

                                   ORDER OF DISMISSAL

       For the reasons stated in the court’s Memorandum and Order of even date, this action is

dismissed.




              SIGNED on September 24, 2020, at Houston, Texas.



                                           _______________________________________
                                                        Lee H. Rosenthal
                                                 Chief United States District Judge
